 Case 9:25-mj-08343-WM Document 1 Entered on FLSD Docket 06/26/2025 Page 1 of 6
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                        25-8343-WM
                               Case No. _______________________


UNITED STATES OF AMERICA                                                       SW

v.
                                                                    Jun 25, 2025
MARIN HELBER ARREAGA,
 a/k/a Marin Arreaga-Galvez,                                                      WPB



              Defendant.
__________________________________/

                                   CRIMINAL COVER SHEET

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                                                 Respectfully submitted,

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                                           BY: _________________________________
                                               AURORA FAGAN
                                               ASSISTANT UNITED STATES ATTORNEY
                                               Florida Bar No.    188591
                                               500 South Australian Avenue, Suite 400
                                               West Palm Beach, Florida 33401
                                               7HO    (561) 820-8711
                                               )D[    (561) 820-8777
                                               (PDLO Aurora. Fagan@usdoj.gov
      Case 9:25-mj-08343-WM Document 1 Entered on FLSD Docket 06/26/2025 Page 2 of 6
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                                                                                             SW
                                                  Southern District
                                                __________ Districtof
                                                                    ofFlorida
                                                                      __________
                                                                                                                       Jun 25, 2025
                  United States of America                        )
                             v.                                   )                                                            WPB
                                                                  )      Case No. 25-8343-WM
               MARIN HELBER ARREAGA,                              )
               a/k/a Marin Arreaga-Galvez,                        )
                                                                  )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  June 22, 2025                in the county of            Palm Beach                in the
     Southern          District of           Florida          , the defendant(s) violated:

            Code Section                                                    Offense Description
8 U.S.C. § 1326(a)and (b)(1)                  Illegal re-entry after removal.




         This criminal complaint is based on these facts:
See Attached Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                             Complainant’s signature

                                                                                   Andy Korzen, ICE Deportation Officer
                                                                                              Printed name and title
Sworn to and attested to me by applicant by
telephone (Facetime) per the requirements of
Fed. R. Crim. P.4 (d) and 4.1.

Date: June 25, 2025
                                                                                                Judge’s signature

City and state:                      West Palm Beach, FL                          William Matthewman, U.S. Magistrate
                                                                                              Printed name and title
                                                                                                     Judge
Case 9:25-mj-08343-WM Document 1 Entered on FLSD Docket 06/26/2025 Page 3 of 6




                                  AFFIDAVIT
                                      OF
                                 ANDY KORZEN
               UNITED STATES DEPARTMENT OF HOMELAND SECURITY
                   IMMIGRATION AND CUSTOMS ENFORCEMENT

              I, Andy Korzen, being duly sworn, depose and state as follows:

              1.     I am a Deportation Officer with the Immigration and Customs

    Enforcement (ICE) and have been so employed for over twenty-one years. I am currently

    assigned to the ICE Enforcement and Removal Operations, West Palm Beach, Florida.

    My duties and responsibilities include enforcing criminal and administrative immigration

    laws of the United States. I have also conducted and participated in investigations of this

    nature.

              2.     This affidavit is based upon my own knowledge as well as information

    provided to me by other law enforcement officers. This affidavit does not set forth every

    fact known to me regarding the investigation but only those facts necessary to establish

    probable cause to believe that Marin Helber ARREAGA, also known as Marin Arreaga

    GALVEZ, committed the offense of illegal re-entry after removal, in violation of Title 8,

    United States Code, Section 1326(a) and (b)(1).

              3.     On or about June 22, 2025, Marin Helber ARREAGA was arrested in

    Palm Beach County, Florida on charges of burglary of an occupied dwelling, aggravated

    assault with a deadly weapon, resist without violence, and criminal mischief. He was

    booked and detained at the Palm Beach County Jail.

              4.     A review of the immigration records shows that Marin Helber ARREAGA

    is a native and citizen of Guatemala. Records further show that on or about September 4,

    2014, Marin Helber ARREAGA was ordered removed from the United States. The Order



                                                  1
Case 9:25-mj-08343-WM Document 1 Entered on FLSD Docket 06/26/2025 Page 4 of 6




    of Removal was executed on or about September 10, 2014, whereby Marin Helber

    ARREAGA was removed from the United States and returned to Guatemala.

           5.      Thereafter, Marin Helber ARREAGA re-entered into the United States

    illegally, his prior order of removal was reinstated, and on or about October 22, 2021,

    was removed for the second time and returned to Guatemala.

           6.      Records further show that on or about October 8, 2021, in the United

    States District Court, District of Arizona, Marin Helber ARREAGA was convicted of the

    felony offense of Reentry of Removed Alien, case number CR-21-01439-001-TUC-JGZ.

           7.      Marin Helber ARREAGA’s fingerprints taken in connection with his June

    22, 2025, arrest in Palm Beach County were scanned into the IAFIS system. Results

    confirmed that scanned fingerprints belong to the individual who was previously

    removed from the United States, that is Marin Helber ARREAGA.

           8.      A record check was performed in the Computer Linked Application

    Informational Management System to determine if Marin Helber ARREAGA filed an

    application for permission to reapply for admission into the United States after

    deportation or removal. After a search was performed in that database system, no record

    was found to exist indicating that Marin Helber ARREAGA obtained consent from the

    Attorney General of the United States or from the Secretary of Homeland Security, for

    re-admission into the United States as required by law.

           9.      Based on the foregoing, I submit that probable cause exists to believe that,

    on or about June 22, 2025, Marin Helber ARREAGA, an alien who has previously been

    deported and removed from the United States, was found in the United States without

    having received the express consent from the Attorney General or the Secretary of the



                                                2
Case 9:25-mj-08343-WM Document 1 Entered on FLSD Docket 06/26/2025 Page 5 of 6




    Department of Homeland Security for re-admission into the United States, in violation of

    Title 8, United States Code, Section 1326(a) and (b)(1).



                                                 _______________________________
                                                 Andy Korzen
                                                 Deportation Officer
                                                 Immigration and Customs Enforcement


    Sworn and Attested to me by Applicant by Telephone (Facetime) pursuant to Fed. R.
    Crim. P. 4(d) and 4.1 this ______
                               25th   day of June 2025.




                                         _____________________________________
                                         WILLIAM MATTHEWMAN
                                         UNITED STATES MAGISTRATE JUDGE




                                                3
Case 9:25-mj-08343-WM Document 1 Entered on FLSD Docket 06/26/2025 Page 6 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

 Defendant's Name:       MARIN HELBER ARREAGA, a/k/a Marin Arreaga-Galvez

 Case No:

 Count #1

   Illegal Re-entry after Removal

   Title 8, United States Code, Section 1326(a) and (b)(1)
 * Max. Term of Imprisonment: 10 Years
 * Mandatory Min. Term of Imprisonment (if applicable):
 * Max. Supervised Release: 3 Year
 * Max. Fine: $250,000
 * Special Assessment: $100




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
        restitution, special assessments, parole terms, or forfeitures that may be applicable.
